     Case 2:20-cv-03248-TJH-KS Document 14 Filed 10/29/20 Page 1 of 2 Page ID #:89



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 8                             UNITED STATES DISTRICT COURT
 9                            CENTRAL DISTRICT OF CALIFORNIA
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12   Sandra Edmonds,                          Case No.: 2:20-cv-03248-TJH-KSx
13               Plaintiff,                   Hon. Terry J. Hatter, Jr.
14         v.                                 ORDER FOR DISMISSAL WITH
                                              PREJUDICE [JS-6]
15   Delahoussaye Property LLC, a
     California Limited Liability Company;
16   and Does 1-10,                           Action Filed: April 7, 2020
                                              Trial Date:   Not on Calendar
17                              Defendants.
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                       ORDER FOR DISMISSAL WITH PREJUDICE
     Case 2:20-cv-03248-TJH-KS Document 14 Filed 10/29/20 Page 2 of 2 Page ID #:90



 1         Pursuant to Fed. R. Civ. P. 41, the Court, having considered the documents before
 2   it, and being fully advised finds as follows:
 3         IT IS ORDERED THAT:

 4         Plaintiff Sandra Edmonds’ (“Plaintiff”) action against Defendant Delahoussaye
 5   Property LLC (“Defendants”) and all DOE defendants is dismissed with prejudice. Each
 6   party will be responsible for their own fees and costs.
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     Dated: OCTOBER 29, 2020
12                                                       Hon. Terry J. Hatter, Jr
                                                         United States District Judge
13                                                       Central District of California
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                       ORDER FOR DISMISSAL WITH PREJUDICE
